                                                                                            Plaintiff's Exhibit 5
                                                      Printed from Chase for Business




      CHASE BUS PREM SAV (...1185)
     EMPIRE COUNTERTOPS, LLC


   -$99,999,894,647.64
   Available balance


   $105,352.35
   Present balance




            ON HOLD(1)


  Date                 Reason                                                           Expires                      Amount

  Nov 4, 2022          We've received a legal order to hold funds in your account.      Dec 31, 2099       $99,999,999,999.99




  Account activity


     SHOWING                Search

     Filtered by:        Dec 1, 2022 to Dec 5, 2022                    All transactions


  Date                 Description                                 Type                           Amount             Balance




                             We couldn't find any activity that matched the transaction type you chose.
                                 Please choose another transaction type, or choose All transactions.
                              If you have older transactions that aren't shown in your account activity,
                                                         monthly statements.




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                                                                                            Plaintiff's Exhibit 5
                                                      Printed from Chase for Business




      PLAT BUS CHECKING (...1535)
     EMPIRE COUNTERTOPS, LLC


   -$99,999,968,409.98                                        $0.00
                                                              Available credit
                                                                                              -$99,999,968,409.98
                                                                                              Available plus credit
   Available balance


   $31,590.01
   Present balance




            ON HOLD(1)


  Date                 Reason                                                           Expires                           Amount

  Nov 4, 2022          We've received a legal order to hold funds in your account.      Dec 31, 2099           $99,999,999,999.99




  Account activity


     SHOWING                Search

     Filtered by:        Dec 1, 2022 to Dec 5, 2022                    All transactions


  Date                 Description                                               Type             Amount                  Balance

  Dec 5, 2022          SERVICE CHARGES FOR THE MONTH OF NOVEMBER                 Fee               -$25.00              $31,590.01




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                                                                                            Plaintiff's Exhibit 5
                                                      Printed from Chase for Business




      PLAT BUS CHECKING (...7160)
     EMPIRE COUNTERTOPS, LLC


   -$99,999,999,589.12                                        $0.00
                                                              Available credit
                                                                                              -$99,999,999,589.12
                                                                                              Available plus credit
   Available balance


   $410.87
   Present balance




            ON HOLD(1)


  Date                 Reason                                                           Expires                           Amount

  Nov 4, 2022          We've received a legal order to hold funds in your account.      Dec 31, 2099           $99,999,999,999.99




  Account activity


     SHOWING                Search

     Filtered by:        Dec 1, 2022 to Dec 5, 2022                    All transactions


  Date                 Description                                 Type                           Amount                  Balance




                             We couldn't find any activity that matched the transaction type you chose.
                                 Please choose another transaction type, or choose All transactions.
                              If you have older transactions that aren't shown in your account activity,
                                                         monthly statements.




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